Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 1 of 8




                                                 Docket No.: 9:21-cv-80017




 __________________________________




    A.

         1.                                _____________________________________




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Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 2 of 8




                                                          _____




    B.


         6.


                a.




                                       2
Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 3 of 8



                b. Generic Manufacturers:




                c. Distributors:




                d. Retailers:




                e.




                f.




                                        3
Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 4 of 8




    C.


         7.



               ______________ District of _______


         8.




         11.




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Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 5 of 8




        12.    Defendants, by their actions or inactions, proximately caused the injuries to
               Plaintiff(s)




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Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 6 of 8

                        V.   CAUSES OF ACTION ASSERTED




                                             ______________________________




                               _______________________________________________

                               _______________________________________________

                    I          _______________________________________________



                                       6
Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 7 of 8




                        ,         or Count XVIII




                                       7
    Case 9:21-cv-80017-RLR Document 1 Entered on FLSD Docket 01/05/2021 Page 8 of 8




Attorney 1 Signature:__________________________       Attorney 1 Signature:__________________________
Attorney 1 Print:______________________________       Attorney 1 Print:______________________________
Attorney 2 Signature:__________________________       Attorney 2 Signature:__________________________
Attorney 2 Print:______________________________       Attorney 2 Print:______________________________
Firm: ______________________________________          Firm: ______________________________________
Address 1: __________________________________         Address 1: __________________________________
Address 2: __________________________________         Address 2: __________________________________
City: ____________________________                    City: ____________________________
State: ___________________________                    State: ___________________________
Zip: _____________                                    Zip: _____________
Email: _____________________________________          Email: _____________________________________
Phone: ______________________                         Phone: ______________________




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